             Case 2:19-bk-24804-VZ                   Doc 697 Filed 05/01/20 Entered 05/01/20 18:30:45                                       Desc
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         Individual appearing without an attorney
         Attorney for: Movant(s)

                                             UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:                                                                      CASE NO.:      2:19-bk-24804-VZ

    YUETING JIA,1
                                                                                CHAPTER: 11

                                                                            NOTICE OF LODGMENT OF ORDER IN
                                                                            BANKRUPTCY CASE RE: ORDER
                                                                            APPROVING STIPULATION TO (1) DISMISS
                                                                            OBJECTION TO CLAIM 53 FILED BY TAO
                                                                            YUN CAPITAL CO, LTD [DKT 502],
                                                                            OBJECTION TO CLAIM 4 FILED BY BEIJING
                                                                  Debtor(s)
                                                                            LAN CAPITAL INVESTMENT LLP [DKT 503],
                                                                            AND OBJECTION TO CLAIM 56 FILED BY
                                                                            SHENZHEN JINCHENG COMMERCIAL
                                                                            FACTORING CO., LTD. [DKT 504]; AND (2)
                                                                            WITHDRAW RELATED MOTION

                                                                                [Relates to Docket No. 696]


PLEASE TAKE NOTE that the order titled Order
                                       Approving Stipulation To (1) Dismiss Objection To Claim 53 Filed
By Tao Yun Capital Co, Ltd [Dkt 502], Objection To Claim 4 Filed By Beijing Lan Capital Investment Llp
[Dkt 503], And Objection To Claim 56 Filed By Shenzhen Jincheng Commercial Factoring Co., Ltd. [Dkt 504];
And (2) Withdraw Related Motion was lodged on (date) May 1, 2020 and is attached. This order relates to the Stipulation
which is docket number 696.




1
 The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91 Marguerite Drive,
Rancho Palos Verdes, CA 90275.
             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
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 7   Attorneys for Debtor and Debtor in Possession

 8                                 UNITED STATES BANKRUPTCY COURT
 9
                                     CENTRAL DISTRICT OF CALIFORNIA
10
                                              LOS ANGELES DIVISION
11
     In re:                                                         Case No. 2:19-bk-24804-VZ
12
     YUETING JIA,1                                                  Chapter 11
13
                                                                    ORDER APPROVING STIPULATION
14                                                                  TO (1) DISMISS OBJECTION TO
                                Debtor.                             CLAIM 53 FILED BY TAO YUN
15                                                                  CAPITAL CO, LTD [DKT 502],
                                                                    OBJECTION TO CLAIM 54 FILED BY
16                                                                  BEIJING LAN CAPITAL INVESTMENT
                                                                    LLP [DKT 503], AND OBJECTION TO
17                                                                  CLAIM 56 FILED BY SHENZHEN
                                                                    JINCHENG COMMERCIAL
18                                                                  FACTORING CO., LTD. [DKT 504];
                                                                    AND (2) WITHDRAW RELATED
19                                                                  MOTION
20                                                                  [RELATES TO DOCKET NO. 696]
21
                                                                    Date:              May 7, 2020
22                                                                  Time:              1:30 p.m.
                                                                    Place:             Courtroom 1368
23                                                                                     Roybal Federal Building
                                                                                       255 E. Temple Street
24                                                                                     Los Angeles, California 90012
                                                                    Judge:             Hon. Vincent P. Zurzolo
25

26

27

28   1
       The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
     Marguerite Drive, Rancho Palos Verdes, CA 90275.

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 1              The Court, having read and considered the Stipulation to (1) Dismiss Objection to Claim 53

 2   Filed By Tao Yun Capital Co, Ltd [Dkt 502], Objection to Claim 54 Filed by Beijing Lan Capital

 3   Investment LLP [Dkt 503], and Objection to Claim 56 Filed by Shenzhen Jincheng Commercial

 4   Factoring Co., Ltd. [Dkt 504] Debtor’s; and (2) Withdraw Related Motion [Dkt. 602] (the

 5   “Stipulation”) [Docket No. 696]2, and with good cause shown,

 6              IT IS ORDERED:

 7              1.       The Stipulation is approved.

 8              2.       The Objections are dismissed without prejudice.

 9              3.       Consequently, the Motion to Temporarily Allow Claims is moot and, therefore,

10   deemed withdrawn.

11              4.       The hearings regarding the Objections and Motions to Temporarily Allow shall be

12   taken off the Court’s calendar.

13              5.       The Bankruptcy Court shall retain exclusive jurisdiction to resolve any dispute arising

14   from or relating to this Order.

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     2
         Capitalized terms not defined herein shall have the same meaning ascribed to them in the Stipulation.

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Lodged Order Upload (L.O.U)                                                        https://ecf-ciao.cacb.uscourts.gov/UploadOrders/Default.aspx?cmCooki...
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                                                     Bankruptcy LODGED ORDER UPLOAD FORM

                                                                                                                           Friday, May 01, 2020




          C O N F I R M AT I O N :

           Yo u ' v e s u c c e s s f u l l y u p l o a d e d t h e o r d e r :
          ( 10275126.docx )
            A new order has been added




                   Office: Los Angeles
                   C a s e Ti t l e : Yu e t i n g J i a
                   Case Number: 19-24804
                   Judge Initial: VZ
                   C a s e Ty p e : b k ( B a n k r u p t c y )
                   Document Number: 696
                   On Date: 05/01/2020 @ 06:25 PM


          Please print               this confirmation for future reference.



          T h a n k Yo u !

         United States Bankruptcy Court, Central District of California
         Edward R. Roybal Federal Building and Courthouse
         255 East Temple Street, Los Angeles, CA 90012




1 of 1                                                                                                                                  5/1/2020, 6:26 PM
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067


A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 1, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) May 1, 2020, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 1, 2020                  Sophia L. Lee                                                    /s/ Sophia L. Lee
 Date                         Printed Name                                                     Signature




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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)


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